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                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA
                                      Pittsburgh Division



    IN RE: PHILIPS RECALLED CPAP, BI-                    Master Docket: Misc. No. 21-1230
    LEVEL PAP, AND MECHANICAL
    VENTILATOR PRODUCTS LIABILITY                        MDL No. 3014
    LITIGATION,
                                                         Judge JOY FLOWERS CONTI
    This Case Refers to:

    King v. Koninklijke Philips N.V., et al.
    Case No. 2:23-cv-02040


    PRO SE PLAINTIFF DERRICK MARTIN KING’S MOTION TO CONVERT JUNE 20,
    2024 STATUS CONFERENCE TO A REMOTE VIDEOCONFERENCE AND ALLOW
    THOSE PLAINTIFFS WHO OBJECT TO THE PROPOSED MASTER SETTLEMENT
     AGREEMENT FOR PERSONAL INJURIES TO PARTICIPATE AT THE REMOTE
                            VIDEOCONFERENCE

          Now comes the pro se Plaintiff Derrick Martin King and he respectfully moves this

Honorable Court for the entry of an Order which: (1) converts the June 20, 2024 status conference

into a remote videoconference; (2) allow any Plaintiff and their counsel who have filed objections

to the proposed master settlement agreement for personal injury claims to participate in the

videoconference.

          In support of the motion, Plaintiff King states as follows:

          1.        On November 9, 2023, this Court entered the Second Amended Pretrial Order #

12 1, which sets the dates and times of the monthly status conferences for the remainder of 2023

and 2024.

          2.        The next scheduled conference is June 20, 2024 at 11:00 a.m.. 2



1
    ECF No. 2336.
2
    Id.


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           3.    The Order stated that “subject to any limitations imposed by reason of future

COVID-19 restrictions, the above-scheduled status conferences shall be held in person at the

Joseph F. Weis, Jr. United States Courthouse, 700 Grant Street, Pittsburgh, Pennsylvania 15219” 3.

           4.    On May 9, 2024, Plaintiffs leadership and the Phillips Defendants filed a joint

notice 4 announcing a personal injury master settlement agreement (hereinafter “MSA”) to resolve

certain personal injury claims (while other personal injury claims will be excluded from the

settlement). 5

           5.    The MSA (ECF No. 2768-1) makes the following definitions:

                 Eligible Claimant means a United States Citizen or Resident who, as of the
                 applicable Identification Order Declaration Deadline, alleges a Qualifying
                 Injury caused by their use of one or more Recalled Devices and/or any
                 asserted defects, delays or inadequacies relating to the Philips RS recall
                 programs, and either (i) retained counsel on or before April 29, 2024 and is
                 included on an Identification Order Declaration alleging a Qualifying Injury
                 by the applicable Identification Order Declaration Deadline, or (ii) is a pro
                 se plaintiff who has filed a Personal Injury Claim or Claims in the MDL
                 Court or Massachusetts Court alleging a Qualifying Injury or submits an
                 Identification Order Declaration alleging a Qualifying Injury by the
                 applicable Identification Order Declaration Deadline. 6 (emphasis original)

                 Ineligible Claimant means anyone who is not an Eligible Claimant. An
                 Ineligible Claimant is not entitled to participate in or receive any benefits
                 under the Settlement or the Program unless both Plaintiffs’ Negotiating
                 Counsel and the Philips Defendants agree to deem that person an Eligible
                 Claimant (e.g., allowing for the untimely submission of an Identification
                 Order Declaration and/or an untimely submission of a Registration), in
                 which case that person will be considered an Eligible Claimant for all
                 purposes. 7 (emphasis original)




3
    Id. at 2.
4
    ECF No. 2768.
5
    The MSA is in the record as ECF No. 2768-1.
6
    ECF No. 2768-1 at 4.
7
    Id. at 4.


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           6.    The MSA defines Qualifying Respiratory Injury and Qualifying Cancer as the

following:

                 Qualifying Respiratory Injury means, as demonstrated through proof of
                 diagnosis or treatment, respiratory impairment (e.g., new or worsening
                 asthma, new or worsening COPD, chronic bronchitis, bronchiectasis,
                 sarcoidosis, acute respiratory distress syndrome, reactive airways
                 dysfunction syndrome, pulmonary fibrosis, pneumonitis, other interstitial
                 lung disease, other obstructive or restrictive lung disease). 8 (emphasis
                 original)

                 Qualifying Cancer means one of the following, as demonstrated through
                 proof of diagnosis or treatment: lung cancer; certain blood cancers (acute
                 myeloid leukemia (AML), chronic myeloid leukemia (CML), or mucosa
                 associated lymphoid tissue (MALT) of the air-pathway lymphoid tissue); or
                 ENT/pathway cancers (e.g., oral cavity cancers; oropharynx cancer; nasal
                 cavity/sinus cancer; nasopharynx cancer; larynx cancer; hypopharynx
                 cancer; salivary cancer; esophageal cancers; thyroid cancers). (emphasis
                 original)

           7.    At the parties’ request, this Court entered certain Orders.

           8.    On May 20, 2024, Plaintiff King filed a motion to reject the MSA. 9

           9.    Since the announcement of the proposed MSA, other plaintiffs have filed objections

to the MSA for varying reasons. 10

           10.   As recently as November 9, 2023, this Court has held the monthly status

conferences by videoconference. 11




8
    Id. at 5.
9
    ECF No. 2796 (motion); ECF No. 2797 (brief).
10
   See Objection of Edwin Fuentes Vazquez and Brenda Hernaiz Trinadad (ECF No. 2780)
(objecting on grounds that the MSA excluded qualified injury claims established by the FDA);
Objection of Mary Ann Spiekmeier and the Estate of Lawrence J. Spiekermeier (ECF No. 2804)
(objecting on grounds that the proposed MSA creates an inherent conflict for attorneys). It should
be noted that Plaintiff King formally expressed support for the objection of Plaintiff Vazquez and
Plaintiff Trinadad,
11
     ECF No. 2326.


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          11.    The principles of fairness requires this Court to hear from any plaintiff who wishes

to object to the proposed MSA.

          For the reasons stated herein, Plaintiff King prays the Court grant the relief requested

herein.

 Dated: May 29, 2024.                                 Respectfully Submitted,

                                                      /s/ Derrick Martin King
                                                      DERRICK MARTIN KING
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                                                      Akron, Ohio 44320-4049
                                                      Phone: (330) 867-3979
                                                      Email: dmking12370@hotmail.com

                                                      Pro se Plaintiff




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system. Parties and all counsel of record may access and download the filing via

the CM/ECF system or via MDL Centrality.

 Dated: May 29, 2024.                              /s/ Derrick Martin King
                                                   DERRICK MARTIN KING
                                                   Pro se Plaintiff




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